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 1                                    UNITED STATES DISTRICT COURT
 2                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
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 4   IN RE: JUUL LABS INC., MARKETING,                    CASE NO. 19-md-02913-WHO
     SALES PRACTICES, AND PRODUCTS
 5   LIABILITY LITIGATION
                                                          CASE MANAGEMENT ORDER NO. 14:
 6                                                        NON-BELLWETHER CLASS
 7                                                        REPRESENTATIVES FACT SHEET
                                                          IMPLEMENTATION ORDER
 8
     This Document Relates to:
 9                                                        HONORABLE WILLIAM H. ORRICK
     All matters
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              This Case Management Order (“CMO” or “Order”) governs the form, schedule for completion,
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     and service of Plaintiff Fact Sheets (“PFS”) by Class Representatives who (i) are included in the Second
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     Amended Consolidated Class Action Complaint (ECF No. 1035, 1035-1), but (ii) are not a representative
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     of the California subclass, the RICO subclass, or any other state subclass which may be selected as a
17
     bellwether class (“Non-Bellwether Class Representatives”).
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              This order relates only to obligations with respect to economic loss claims made by the Non-
19
     Bellwether Class Representatives. Discovery obligations with respect to claims brought on an individual
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     basis for personal injury are governed by separate orders and agreements of the parties. Nothing in this
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     order affects the discovery obligations of any plaintiff with respect to their individual claims for personal
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     injury
23
              Online Platform
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              The Court previously appointed BrownGreer, PLC (“BrownGreer”) to serve as the online platform
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     for the data management of the PFS. See ECF 406. The parties are directed to utilize BrownGreer’s
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     platform, “MDL Centrality,” to fulfill their PFS obligations and also, to the extent necessary, directly or
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     through their designated representatives, to enter into a contract with the company specifying the services
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              [PROPOSED] NON-BELLWETHER CLASS REPRESENTATIVES FACT SHEET
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 1   to be provided, the costs of such services, and the parties’ payment obligations. BrownGreer shall work
 2   with the parties to compile all necessary data. Class Representatives shall serve their respective PFS and
 3   any documents responsive to the requests in the PFS that the Parties agree must be produced (“Responsive
 4   Documents”) by uploading them to MDL Centrality. Uploading the responsive discovery to MDL
 5   Centrality shall constitute effective service.
 6          Plaintiff Fact Sheets
 7          The Court has approved a Personal Injury PFS that includes document requests. See Exhibit 1.
 8   Each Non-Bellwether Class Representative must complete and submit the PFS as follows:
 9          A. Non-Bellwether Class Representatives who assert personal injury claims in addition to their
10              economic loss claims must complete questions 32 – 46 and Authorizations 1 – 8 in the Personal
11              Injury PFS. If a Non-Bellwether Class Representative has previously completed a PFS in
12              connection with his or her personal injury claim, such Non-Bellwether Class Representative
13              will not be required to complete a separate PFS with respect to his or her class action claim;
14              and
15          B. Non-Bellwether Class Representatives who assert only economic loss claims are not required
16              to complete questions 32 – 46 and Authorizations 1 – 8 in the Personal Injury PFS. However,
17              JLI reserves all rights to seek additional information on medical or education records and
18              Plaintiffs reserve their right to oppose any such request.
19          All Non-Bellwether Class Representatives shall also answer JLI’s First Set of Interrogatories No.
20   9.
21          Discovery Mechanism
22          The effect of a Non-Bellwether Class Representative’s response to the questions contained in the
23   PFS shall be considered the same as interrogatory responses, and where documents are requested,
24   responses shall be considered the same as responses to requests for production under the Federal Rules of
25   Civil Procedure, and will be governed by the standards applicable to written discovery under the Federal
26   Rules of Civil Procedure.
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 1          A PFS is served without prejudice to the Defendants’ rights to serve additional discovery (which
 2   Defendants specifically reserve the right to serve). The Parties have agreed that additional discovery
 3   requests are appropriate for those Non-Bellwether Class Representatives that are chosen by the Parties
 4   and/or the Court as potential bellwether class representatives. The Non-Bellwether Class Representatives
 5   do not waive their rights to assert objections permitted under the Federal Rules of Civil Procedure to any
 6   additional discovery.
 7          PFS Deadlines
 8          Each Non-Bellwether Class Representative must complete and submit a PFS and produce
 9   Responsive Documents on or before February 19, 2021.
10          Substantial Completeness of PFS
11          A.      Substantial completeness: PFS submissions must be substantially complete, which
12   means the Non-Bellwether Class Representative must:
13          1.      Answer all applicable questions (a Non-Bellwether Class Representative may answer
14   questions in good faith by indicating “not applicable,” “I don’t know,” or “unknown”);
15          2.      Include a signed Declaration; and
16          3.      Produce Responsive Documents to the extent such documents are in the Non-Bellwether
17   Class Representative’s possession, custody, or control.
18          B.      Deficiency notice: If a Defendant considers a PFS to be materially deficient, a deficiency
19   notice outlining the purported deficiency(ies) shall be served on the Non-Bellwether Class
20   Representative’s attorney of record via MDL Centrality and on interim co-lead counsel for the plaintiffs
21   via email. The deficient Non-Bellwether Class Representative will have thirty (30) days to correct the
22   alleged deficiency(ies).
23          Objections Reserved to PFS
24          All objections to the admissibility of information contained in the PFS are reserved; therefore, no
25   objections shall be lodged in the responses to the questions and requests contained therein. This paragraph,
26   however, does not prohibit a Non-Bellwether Class Representative from withholding or redacting
27   information based upon a recognized privilege. Documents withheld on the basis of privilege shall be
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 1   logged in accordance with the requirements of Case Management Order No. 4: Rule 502(d) and Privileged
 2   Materials Order, Docket No. 322, Section C.
 3          Confidentiality of Data
 4          Information any Non-Bellwether Class Representative provides pursuant to a PFS is deemed
 5   confidential, and may be disclosed only as permitted by the Protective Order.
 6          Scope of Depositions and Admissibility of Evidence
 7          Nothing in the PFS shall be deemed to limit the scope of inquiry at depositions and admissibility
 8   of evidence at trial. The scope of inquiry at depositions shall remain governed by the Federal Rules of
 9   Civil Procedure. The Federal Rules of Evidence shall govern the admissibility of information contained
10   in responses to the PFS and no objections are waived by virtue of providing information in any PFS.
11          Failure to Serve PFS
12          A.      Notice by Defendants of overdue discovery: Any Non-Bellwether Class Representative
13   who fails to comply with its PFS obligations under this Order may be subject to having its claims
14   dismissed. If a Non-Bellwether Class Representative has not submitted a completed PFS within 30 days
15   following the due date set forth herein, any Defendant may send a Notice of Overdue Discovery via MDL
16   Centrality and on interim co-lead counsel for the plaintiffs via email.
17          B.      Motion to dismiss without prejudice: If a Non-Bellwether Class Representative fails to
18   submit a completed PFS within 30 days after receipt of the Notice of Overdue Discovery, any Defendant
19   may move the Court for an order dismissing the Class Representative from the Second Amended
20   Consolidated Class Action Complaint without prejudice. A Class Representative subject to such motion
21   shall have 14 days from the date of the Defendant’s motion to file a response either (a) certifying that the
22   Non-Bellwether Class Representative has submitted a completed PFS or (b) opposing the Defendant’s
23   motion for other reasons. If a Non-Bellwether Class Representative certifies that he or she has submitted
24   a completed PFS, the Non-Bellwether Class Representative shall not be dismissed from the Second
25   Amended Consolidated Class Action Complaint (unless the Court finds that the certification is false or
26   incorrect).
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 1            This Order may be modified by a Stipulated Order of the parties or by the Court for good cause
 2   shown.
 3            IT IS SO ORDERED.
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     Date:March 10, 2021                                 ___________________________________
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                                                           HONORABLE WILLIAM H. ORRICK
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